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                          24th            March




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                                       MAGDELINE D. COLEMAN
                                       CHIEF U.S. BANKRUPTCY JUDGE
